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IN THE UNITED STATES DISTRICT coURT F"'ED B"'*~ D'C‘
FoR THE wEsTERN DISTRICT oF TENNESSEE

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WALTER MCGHEE, II,
Plaintiff,
Vs. No. 04-2515~Ml/V

oFFIcER BoYCE,

Defendant.

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ORDER GRANTING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
ORDER DISMISSING COMPLAINT
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

On July 9, 2004, Plaintiff Walter McGhee filed a complaint
under 42 U.S.C. § 1983 against Memphis Police Officer P. Boyce
and the City of Memphis. On January 5, 2005, the Court dismissed
Plaintiff's Claims against the City of Memphis and directed that
service issue on Plaintiff's Claims against Officer Boyce.
McGhee alleged that on May lO, 2003, he was denied access to a
public park, stopped and detained without probable cause, and
arrested by Officer Boyce. Plaintiff further alleged that on
July 17, 2003, Officer Boyce failed to appear in city court and
the charges against him were dismissed.

On February 3, 2005, Defendant Boyce filed a motion for
summary judgment, along with an affidavit and memorandum in

support. Plaintiff responded to the motion for summary judgment

This document entered on the docket sheet in comp||ance

with Hule 53 and/or rs(a) FRCP on §§ "? '5 5 //

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on March 21, 2005. The bases for Defendant's motion for summary

judgment are:

l)

Plaintiff has failed to state a claim under § 1983
upon which relief may be granted and Defendant is
entitled to judgment as a matter of law;

Plaintiff's claim is barred by the statute of
limitations; and

Defendant is entitled to qualified immunity.

The following undisputed facts appear in the record:

El.

Plaintiff Walter McGhee was stopped and allegedly
denied access to a public park and issued a mandatory
court summons on May lO, 2003. (Pl.’s Compl.)

Plaintiff filed this complaint on July 9, 2004. (Pl.’s
Compl.)

Defendant Officer Boyce was participating in a traffic
saturation along with another officer on May 10, 2003.
(Affidavit of Officer Boyce.)

On May lO, 2003, Defendant Officer Boyce observed
Plaintiff's Cadillac and determined the vehicle had a
cracked windshield, in violation of a city ordinance.
(Affidavit of Officer Boyce.}

Defendant Officer Boyce motioned for Plaintiff to pull
over, at which time Defendant Boyce determined
Plaintiff to be in violation of state registration,
vehicle inspection, and financial responsibility laws,
all violations of city ordinances. (Affidavit of
Officer Boyce.)

Some of the violations for which Plaintiff was cited
require a mandatory court appearance. (Affidavit of
Officer Boyce.)

Plaintiff was not arrested, but was issued a traffic
citation, charging him with violations of state
registration, vehicle inspection, financial
responsibility laws and having a defective windshield.

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(Affidavit of Officer Boyce, Exhibit I; Exhibit to
Pl.’s Resp. to Def.’s Mot. for Summ. J.)

h. Plaintiff was free to leave and did so after he was
issued his citation. (Affidavit of Officer Boyce}
i. Plaintiff's citations were set for a court hearing on

July 11, 2003. (Affidavit of Officer Boyce, Exhibit I)

j. Plaintiff's charges were dismissed on July 11, 2003.
(Affidavit of Officer Boyce; Pl.'s attachment to
Compl.)

The Court reviews the motion under the following standard:

Under Rule 56(c), summary judgment is proper “if the
pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if
any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to
a judgment as a matter of law.” Fed. R. Civ. P. 56(c);
see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
“So long as the movant has met its initial burden of
‘demonstrat[ing] the absence of a genuine issue of
material fact,’ id; at 323, the nonmoving party then
‘must set forth specific facts showing that there is a
genuine issue for trial.’” Fed. R. Civ. P. 56(e). If
the nonmoving party is unable to make such a showing,
summary judgment is appropriate.

Emmons v. McLaughlin, 874 F.2d 351, 353 (6th Cir. 1989). In
considering a motion for summary judgment, “the evidence as well
as the inferences drawn therefrom must be read in the light most
favorable to the party opposing the motion.” Kochins v. Linden-
Alimakz Inc., 799 F.2d 1128, 1133 (6th Cir. 1986).

Pursuant to Rule 56(e), a “party opposing a properly
supported motion for summary judgment may not rest upon the mere
allegations or denials of his pleading, but must set forth

specific facts showing that there is a genuine issue for trial.”

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Anderson v. Libertv Lobbv, Inc., 477 U.S. 242, 248
(1986)(citations omitted}. A genuine issue of material fact
exists “if the evidence [presented by the non-moving party] is
such that a reasonable jury could return a verdict for the non-
moving party.” Anderson, 477 U.S. at 248. In essence, the
inquiry is “whether the evidence presents a sufficient
disagreement to require submission to a jury or whether it is so
one-sided that one party must prevail as a matter of law.” ld; at
251-52.

The statute of limitations in Tennessee for violations of §
1983 is one year. Tenn. Code Ann. § 28-3-104(a)(3) (1988). §§eL
e.g., Wilson v. Garcia, 471 U.S. 261 (1985); Berndt v. State of
Tennessee, 796 F.2d 879, 883 (6th Cir. 1986). Plaintiff’s claim
that he was denied access to a city park is separate and distinct
from his claim that he was stopped without probable cause,
arrested, and issued a traffic citation. Any determination of
whether Plaintiff's civil rights were violated by the alleged
denial of his access to a city park was not dependent upon the
disposition of Plaintiff's ticket for violating city traffic
ordinances. McGhee alleges that Defendant Boyce prevented his
access to the park on May 10, 2003. A statute of limitations
begins to run when the Plaintiff knows or has reason to know of

the injury that is the basis of his action. Friedman v. Estate

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of Presser, 929 F.Zd 1151, 1159 (6th Cir. 1991). McGhee did not
file this complaint until July 9, 2004.

Despite any conflicting, underlying factual allegations of
the Plaintiff and Defendant, no genuine issue of material fact
exists regarding the date on which Plaintiff's alleged
deprivation - the prevention of his access to a city park -
occurred. Accordingly, Defendant is entitled to judgment as a
matter of law on this issue because Plaintiff's claim is
untimely.

The Court next examines Plaintiff’s claim that Defendant
Boyce had no probable cause to stop his vehicle, temporarily
detain himr or issue him a traffic citation. Defendant Boyce
states by affidavit that Plaintiff had a cracked windshield which
appeared to constitute an impairment or obstruction to his
operation of the vehiclei Boyce further states that after
walking to the rear of Plaintiff’s vehicle, he observed that
Plaintiff's tags were expired and upon request, Plaintiff could
not produce proof of insurance. Although Plaintiff alleged in
his affidavit in support of motion to proceed in fgrma pauperis
filed simultaneously with his complaint that he was issued a
summons “for some unspecified reason,” the copies of his traffic
citation attached as exhibits to Defendant Boyce’s affidavit and
to Plaintiff’s response to the motion for summary judgment

reflect that Plaintiff was charged with violation of state

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registration, inspection, and financial responsibility laws, and
having a defective windshield. Faced with an exhibit which
supports Defendant Boyce's affidavit, rather than the allegation
in Plaintiff's previous affidavit, Plaintiff contends in his
response that his bill of sale, proof of registration, and proof
of insurance were in the glove compartment of his car on May 10,
2003. Additionally McGhee states that, on an unspecified date,
he “successfully passed inspection and [his] windshield was not
defective.”

The Plaintiff must present affirmative evidence in order to
defeat a properly supported motion for summary judgment.
Plaintiff has not provided facts or exhibits which demonstrate
the condition of his windshield on May 10, 2003r a motor vehicle
inspection report predating May 10, 2003, a Shelby County
certificate of vehicle registration that was current for May 10,
2003, or a certificate of insurance demonstrating that he was
insured on May 10, 2003.

“[S]o long as the officer has probable cause to believe a
traffic violation has occurred or was occurring, the resulting
stop is not unlawful.” United States v. Ferguson, 8 F.3d 385,
391 (6th Cir. 1993). Even the fact that a reasonable officer
might not have stopped the vehicle for the alleged violation is
not enough to make a stop illegal, as long as the officer

actually observed the traffic violation alleged to be the basis

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for the stop. Whren v. United States, 517 U.S. 806, 812-23
(1996}. As long as probable cause exists, the officer's motives
are irrelevant. Criss v. Citv of Kent, 867 F.2d 259, 262 (6th
Cir. 1988). Furthermore, that Plaintiff may have complied with
the city ordinances after May 10, 2003r in order to have his case
dismissed on July 11, 2003, does not vitiate the probable cause
that existed at the time of the stop. fda

Plaintiff has failed to produce facts from which a rational
trier of fact could infer that the Defendant officer lacked
probable cause to stop him and issue the traffic citations.
Accordingly, Defendant is entitled to summary judgment as a
matter of law on this issue also. Since the Court has found that
Plaintiff's rights were not violated, the court need not address
the issue of qualified immunity.

Plaintiff's final claim that Defendant Officer Boyce
violated the “Sixth Amendment because Boyce did not appear” at
traffic court is specious. To the extent the Sixth Amendment
right to confront witnesses is applicable to traffic court
proceedings, no statements or other evidence was presented
because the citations were dismissed without a trial. Plaintiff
therefore fails to state a claim under the Sixth Amendment.

Accordingly, no genuine issues of material fact exist and
Defendant is entitled to judgment as a matter of law regarding

all of Plaintiff’s claims. Defendant’s motion for summary

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judgment is therefore GRANTED and Plaintiff's Complaint is
DISMISSED.

The next issue to be addressed is whether Plaintiff should
be allowed to appeal this decision ip fp;ma pauperis. Twenty-
eight U.S.C. § 1915(a)(3) provides that an appeal may not be
taken ip fp;ma pauperis if the trial court certifies in writing
that it is not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962}. An appeal is not taken
in good faith if the issue presented is frivolous. lgp In this
case, for the reasons expressed above, no genuine issue of
material fact exists regarding Plaintiff’s claims and Defendant
is entitled to summary judgment as a matter of law. As
reasonable jurists could not differ regarding this conclusion,
the Court concludes that an appeal of this dismissal would be
frivolous.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by Plaintiff is not
taken in good faith, and Plaintiff may not proceed on appeal ip
fp;mg pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997), and Floyd v. United
States Postal Serv., 105 F.3d 274 (6th Cir. 1997), apply to any

appeal filed by the Plaintiff in this case. If Plaintiff files a

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notice of appeal, he must pay the entire $255 filing fee required
by 28 U.S.C. §§ 1913 and 1917. The entire filing fee must be
paid within thirty days of the filing of the notice of appeal.

By filing a notice of appeal the Plaintiff becomes liable
for the full amount of the filing fee, regardless of the
subsequent progress of the appeal. If the Plaintiff fails to
comply with the above assessment of the appellate filing fee
within thirty days of the filing of the notice of appeal or the
entry of this order, whichever occurred later, the district court
will notify the Sixth Circuit, which will dismiss the appeal. If
the appeal is dismissed, it will not be reinstated once the fee

is paid. McGore, 114 F.3d at 610.

IT IS SO ORDERED this 8th day of August, 2005.

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JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
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Honorable Jon McCalla
US DISTRICT COURT

